Case 6:13-cv-00657-CEM-KRS Document 223 Filed 04/24/14 Page 1 of 8 PageID 2345
Case 6:13-cv-00657-CEM-KRS Document 223 Filed 04/24/14 Page 2 of 8 PageID 2346
Case 6:13-cv-00657-CEM-KRS Document 223 Filed 04/24/14 Page 3 of 8 PageID 2347
Case 6:13-cv-00657-CEM-KRS Document 223 Filed 04/24/14 Page 4 of 8 PageID 2348
Case 6:13-cv-00657-CEM-KRS Document 223 Filed 04/24/14 Page 5 of 8 PageID 2349
Case 6:13-cv-00657-CEM-KRS Document 223 Filed 04/24/14 Page 6 of 8 PageID 2350
Case 6:13-cv-00657-CEM-KRS Document 223 Filed 04/24/14 Page 7 of 8 PageID 2351
Case 6:13-cv-00657-CEM-KRS Document 223 Filed 04/24/14 Page 8 of 8 PageID 2352
